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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:18-CV-03893-RGK-AGR Date September 05, 2018

 

 

Title EDWARD MUNOZ vy. 7-ELEVEN, INC.

 

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Sharon L. Williams (Not Present) Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Re: Defendant’s Motion to Dismiss First Amended

Complaint for Failure to State a Claim

I. INTRODUCTION

On May 9, 2018, Edward Munoz (“Plaintiff”) filed a complaint against 7-Eleven, Inc.
(“Defendant”) in federal court on behalf of a class similarly situated alleging that the Defendant violated
sections 1681b(b)(2)(A)(i) and 1681b(b)(3) of the Fair Credit Reporting Act (““FCRA”) as well as
sections of California Unfair Competition Law (Cal. Bus. & Prof. Code § 17200 et seg.) (“UCL”).

On July 23, 2018, Plaintiff filed First Amended Complaint (“FAC”) against Defendant in federal
court on behalf of a class similarly situated. Plaintiff continues to allege that Defendant violated section
1681b(b)(2)(A)(i) of the FCRA and sections of California UCL, but eliminated his cause of action for
violation of § 1681b(b)(3).

Presently before the court is Defendant’s Motion to Dismiss for failure to state a claim upon
which relief can be granted. For the following reasons, the Court DENIES Defendant’s Motion.

II. FACTUAL BACKGROUND

Plaintiff applied for a position with 7-Eleven in January 2018. While completing his application,
the Plaintiff was asked to sign a disclosure form (“Form”). This form contained a general disclosure that
there would be a consumer report performed that summarized Plaintiff's background and criminal
history. As a result of the information produced in the report that followed, Plaintiff was fired.

Both parties agree that in addition to the general disclosure, other information was also included
in the form. Plaintiff alleges that 7-Eleven’s disclosure form violates the FCRA by providing
information regarding both obtaining a “consumer report” and an “investigative consumer report,” in
violation of the FCRA “stand-alone” requirement. Additionally, Plaintiff alleges that Defendant also
included extraneous information that made the disclosure form unclear and hard to understand.

 

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It. JUDICIAL STANDARD

A party may move to dismiss for failure to state a claim upon which relief can be granted. Fed.
R. Civ. P. 12(b)(6). In deciding a Rule 12(b)(6) motion, the Court must take the allegations in the
challenged complaint as true and construe the complaint in the light most favorable to the non-moving
party. Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337-38 (9th Cir. 1996). However, a court need not
accept as true unreasonable inferences, unwarranted deductions of fact, or conclusory legal allegations
cast in the form of factual allegations. See W. Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir.
1981). A plaintiff must state “enough facts to state a claim to relief that is plausible on its face.” Bel/ Ati.
Corp. v. Twombly, 550 U.S. 544, 570 (2007). The complaint need not detail factual allegations, but must
provide more than a “formulaic recitation of the elements of a cause of action.” Jd. at 555. Factual

allegations must “permit the court to infer more than the mere possibility of misconduct” Ashcroft v.
Iqbal, 556 U.S. 662, 679 (2009).

IV. DISCUSSION

Plaintiff alleges that Defendant’s disclosure statement violates the FCRA because the form
violates the “stand-alone” requirement and includes extraneous information so that the form is not “clear
and conspicuous.” 15 U.S.C. § 1681b(b)(2)(A)(a). Defendant argues the Plaintiffs claims fail as a matter
of law because the disclosure form at issue does not violate the FCRA. For the following reasons, the
Court denies Defendant’s Motion to Dismiss.

The FCRA was enacted to ensure the “accuracy and fairness of credit reporting” and protect the
privacy rights of individuals. 15 U.S.C. § 1681. Consumer reports and investigative consumer reports
are reports covered by the FCRA. Jd. Consumer reports commonly are prepared for employers and
describe an applicant’s credit history and other characteristics for use in “employment purposes.” 15
U.S.C. § 1681a(d)(1). An investigative consumer report may also be performed by an employer, which
is a similar report detailing general character and reputation. 15 U.S.C. § 1681la(e). However, an
investigative consumer report is performed using personal interviews of friends and family. Jd.

The FCRA provides, in relevant part, that:

Except as provided in subparagraph (B), a person may not procure a consumer
report, or cause a consumer report to be procured, for employment purposes with
respect to any consumer, unless—

(1) a clear and conspicuous disclosure has been made in writing to the consumer at
any time before the report is procured or caused to be procured, in a document that
consists solely of the disclosure, that a consumer report may be obtained for

employment purposes...

15 U.S.C. § 1681b(b)(2)(A)(i) (emphasis added).

 

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The requirement that the document consist “solely” of the disclosure statement is often referred
to as a “stand-alone requirement.” Co/eman v. Kohl’s Department Store, 2015 WL 5782352 (N.D. Cal.,
Oct. 5, 2015). When an employer includes “terms in addition to the disclosure” and produces a
document consisting of more than just the disclosure statement before procuring a consumer report for a
prospective employee, the employer has willfully violated the “stand-alone requirement.” Syed v. M-J,
LLC, 853 F.3d 492, 496 (9th Cir. 2017). The provision also provides a “clear and conspicuous”
requirement, which is separate from the consists “solely” of the disclosure requirement. Jd. Even where
an employer uses a “clear and conspicuous” disclosure that does not “stand alone,” they have still
violated the FCRA. Jd. at 503. As the Defendant points out, there is some indication that a disclosure for
a consumer report and a disclosure for an investigative consumer report may be included in the same
form under certain limited situations. See Walker v. Fred Meyer, 2018 WL 2455915, *5 (D. Ore. May 7,
2018) (citing to FTC Advisory Opinion to Willner, available at https://www.ftc.gov/policy/advisory-
opinions/advisory-opinion-willner-03-25-99).

Here, Plaintiff alleges in the FAC that (1) the Defendant’s disclosure included both a disclosure
for a consumer report and a disclosure for an investigative consumer report in violation of the FCRA
and (2) the disclosure form included extraneous information that made the disclosure confusing for the
Plaintiff. Furthermore, Plaintiff has attached a complete copy of the disclosure at issue, which Defendant
impliedly concedes is a true and accurate copy.

Taking all factual allegations in Plaintiff's Complaint as true and viewed in a light most
favorable to the Plaintiff, Plaintiff has sufficiently pleaded plausible claims for violations of the FCRA
and the UCL. Thus, Defendant’s challenge to the claims raises only the issue of whether the disclosure
in question is legally sufficient. Specifically, Defendant argues only that the disclosure form attached to
the complaint meets both the “clear and conspicuous” and “stand-alone” requirements of the FCRA.
While Defendant’s arguments may ultimately prevail on summary judgment, the Court will not address
this issue at this stage of litigation. At the pleading stage, the Court finds that Plaintiff has adequately
stated a claim for relief.

V. CONCLUSION

For the foregoing reasons, the Court DENIES Defendant’s Motion to Dismiss.

 

Initials of Preparer

 

 

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